Case 1:20-cr-O0008-MKB Document 113-6 Filed 03/21/23 Page 1 of 1 PagelD #: 983

From:

To:

CC:

Sent: 5/6/2018 11:14:07 AM
Subject: Fwd: ETH?

Hi Steven:

We need that ETH back sooner rather than later. ae: started campaigning very aggressively about it at work
and it’s a big issue for us. In fact, quite a few people in our company are asking about it.

Please let us know if end of the month latest works for you. Checked the wallet address where we sent to you and

most of it is still in there from what we can see. :_

Thanks.

Begin forwarded message:

Fron:

~
3

Date: May 3, 2018 at 12:19:12 PM PDT
To:
Ce:
Subject: ETH?

So we sent over 10,000 ETH to Steve AGAIN. 30% interest. When are we going to see this back this time? 10,000 ETH +
30% interest = 13,000 ETH.

In case you guys are not watching, we need this ETH sooner rather than later. I'm thinking June 1, 2018. Please tell Steven.
No more, ever again.

CONFIDENTIAL
